            Case 3:20-cr-00389-DCG         Document 311-1      Filed 11/21/23      Page 1 of 1
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    Ndv l2t )O                   UNITED STATES DISTRICT COURT
CLERK, U.             CI COURT    WESTERN DISTRICT OF TEXAS
WESTERT!CT OF TEXAS                    EL PASO DIVISION
                  DEPUTY CLERK
   UNITED STATES OF AMERICA,                      §



             V.



                                                         No. 3:20-CR-00389
   PATRICK WOOD CRUSIUS,                                 (The Honorable David C. Guadenama)


             Defendant.


                                          PROPOSED ORDER

             Upon consideration of the Motion for Leave to file El Paso Matters' Motion to Intervene

   and Unseal Records, any opposition(s) thereto, and the entire record herein, it is hereby

   ORDERED that:

       I. El Paso Matters' Motion for Leave is GRANTED;

       2. El Paso Matters is permitted to file its Motion to Intervene and Unseal Records that is

             attached to the Motion for Leave as Exhibit A.



       SO ORDERED.




                                                                        Hon. David C. Guaderrama
                                                                        United States District Judge
